907 F.2d 1138Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Emjumo Aswad KENYATTA, a/k/a James Ivory Henderson,Petitioner-Appellant,v.James E. JOHNSON, Warden;  Virginia State Parole Board;Attorney General of the Commonwealth of Virginia,Respondents-Appellees.
    No. 90-6055.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 4, 1990.Decided June 19, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  David G. Lowe, United States Magistrate.  (C/A No. 89-202-R)
      Emjumo Aswad Kenyatta, appellant pro se.
      Robert Harkness Herring, Jr., Assistant Attorney General, Richmond, Va., for appellees.
      E.D.Va.
      DISMISSED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Emjumo Aswad Kenyatta seeks to appeal the magistrate's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.*   Our review of the record and the magistrate's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the magistrate.  Kenyatta v. Johnson, C/A No. 89-202-R (E.D.Va. Feb. 23, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         The parties consented to having this case presented to a magistrate, pursuant to 28 U.S.C. Sec. 636, with appeal directly to this Court
      
    
    